    Case 4:18-cv-00492-A Document 15 Filed 10/09/18                       Page 1 of 12 PageID 503
                                                                                       .. s
                                                                               NORTHER!"{l>ISTRICT OF TEXAS
                         IN THE UNITED STATES DISTRICT OURTr-~-=-~~~~--.
                                                                                           tILED
                              NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION        OCT - 9 2018
KORNITZKY GROUP LLC d/b/a                            §
AEROBEARINGS, LLC,                                   §                          C1fyRK, U.S. DISTRICT COURT
                                                     §                                     Deputy
                 Plaintiff,                          §
                                                     §
VS.                                                  §    NO. 4 : 18 - CV- 4 9 2 -A                           ··   '
                                                     §
FEDERAL AVIATION                                     §
ADMINISTRATION, ET AL.,                              §
                                                     §
                Defendants.                          §


                                       MEMORANDUM OPINION
                                               and
                                              ORDER

        Before the court for consideration is the motion of

defendants, Federal Aviation Administration, The United States

Department of Transportation, Daniel K. Elwell, Acting

Administrator of the FAA, and Elaine Chao, Secretary of the

United States Department of Transportation (collectively "FAA" 1 )                                        ,



to dismiss the claims of plaintiff, Kornitzky Group LLC d/b/a

AeroBearings, LLC, against them in the above-captioned action.

Having considered the motion, plaintiff's response thereto, the

applicable legal authorities, and the entire record, the court

finds that the motion should be granted and that plaintiff's

claims against FAA should be dismissed.




        'All parties treat Federal Aviation Administration ("FAA") as the defendant who took the action
of which plaintiff complains; and, for all practical purposes, all parties treat FAA as the sole defendant.
Following the lead of the parties, the court does the same in this memorandum opinion and order.
  Case 4:18-cv-00492-A Document 15 Filed 10/09/18   Page 2 of 12 PageID 504


                                    I.

                       Plaintiff's Allegations

     Plaintiff initiated the above-captioned action on June 15,

2018, by filing a document titled "Mandamus Action." On July 12,

2018, plaintiff amended its pleading by filing a document titled

"Plaintiff's First Amended Mandamus Action"         (the "Mandamus

Complaint").   The Mandamus Complaint remains plaintiff's live

pleading.   Plaintiff alleged that:

     It is a business that specializes in repairing jet engine

bearings.   Plaintiff was founded in 2011, when it obtained

certification from FAA to do its work.        It is required to have an

FAA certification in order to do its work of repairing aircraft

bearings.   Since plaintiff's inception until approximately 2016,

FAA had conducted random and scheduled inspections of plaintiff,

and each time it did, FAA determined that plaintiff was properly

following the Mil-spec and FAA regulations.         Plaintiff is not

aware of any service failures or process failures related to its

workmanship.

     As a result of a conspiracy that began in July 2016 between

FAA and various rogue FAA agents, action was taken to ruin the

business of plaintiff.     Included in that activity was drastic and

uncommon action of FAA to issue an Emergency Order of Revocation

on March 1, 2018, against plaintiff that had the effect of


                                    2
  Case 4:18-cv-00492-A Document 15 Filed 10/09/18    Page 3 of 12 PageID 505


shutting down all plaintiff's operations.           Also, on March 6,

2018, FAA issued a press release that contained several false and

misleading statements, and had several material factual omissions

necessary to give the public an accurate account of plaintiff and

FAA's investigation.     Plaintiff has notified FAA of its false

statements and omissions in the press release, but FAA has

refused to correct the press release or issue a follow-up press

release.

     FAA has failed to issue a new press release that provides

information concerning plaintiff's emergency hearing in which an

Administrative Law Judge overruled FAA's emergency revocation.

The Administrative Law Judge's decision was overturned by the

National Transportation Board, from which ruling plaintiff has

filed an appeal with the United States Court of Appeals for the

District of Columbia Circuit.

     The FAA press release violated regulations governing FAA's

obligations relative to the accuracy and fairness of its press

releases.   Section 9 of FAA Order 2150.3B provides a clear duty

obligating FAA to provide the public with accurate, reliable

information about its enforcement actions.           Plaintiff has

attempted to resolve this matter without involving the court, but

has been wholly unsuccessful.      "There is no other agency that is




                                    3
    Case 4:18-cv-00492-A Document 15 Filed 10/09/18                  Page 4 of 12 PageID 506


able to grant the relief Plaintiff is seeking.•                             Doc. 10 at 8,

~   23. 2

        Plaintiff seeks mandamus relief under 28 U.S.C.                            §   1361 in

the form of "an Order requiring the FAA issue an accurate press

release that does not omit material information to give the

public a complete understanding of the FAA's contentions.•                                    Id.

at 8,       ~   24. This order is sought pursuant to FAA Order 2150.3B, a

part of the regulatory guidance of FAA.

                                                II.

                                  Grounds of the Motion

        The three reasons given by FAA why the motion to dismiss

should be granted were summed up in the motion as follows:

             First, AeroBearings does not identify any duty
        owed to AeroBearings that arises from a statute or the
        United States Constitution. See Giddings v. Chandler,
        979 F.2d 1104, 1108 (5th Cir. 1992). Instead,
        AeroBearings alleges that the wording of the press
        release did not provide the public with accurate
        information. That purported duty to the public--which
        AeroBearings fashions from FAA guidance--cannot form
        the predicate for mandamus relief.

             Second, AeroBearings cannot show a clear right to
        relief because "mandamus is not available to review
        discretionary acts of agency officials." Green v.
        Heckler, 742 F.2d 237, 241 (5th Cir. 1984). Since the
        issuance of a press release is undoubtedly a
        discretionary act, AeroBearings cannot invoke mandamus
        jurisdiction.



        2
         The "Doc._" references are to the numbers assigned to the referenced items on the docket in
this Case No. 4:18-CV-492-A.

                                                  4
     Case 4:18-cv-00492-A Document 15 Filed 10/09/18   Page 5 of 12 PageID 507


             Third, AeroBearings fails to show that it has no
        other remedies available. AeroBearings does not attempt
        to explain why administrative or judicial relief are
        foreclosed, and it even admits that it is appealing the
        underlying revocation decision in the D.C. Circuit.
        AeroBearings cannot simply disregard other means of
        relief and opt for the extraordinary writ of mandamus.

Doc. 12 at 1.

        FAA contends that for those reasons, the court lacks subject

matter jurisdiction to grant plaintiff's requested relief and

that, in any event, the Mandamus Complaint fails to state a claim

upon which mandamus relief can be granted.

                                      III.

                      Applicable Pleading Principles

A.      Lack of Subject Matter Jurisdiction

        When considering a motion to dismiss for lack of subject

matter jurisdiction, the court construes the allegations of the

complaint favorably to the pleader.          See Lujan v. Defenders of

Wildlife, 504 U.S. 555, 560 (1992); Cobb v. Cent. States, 461

F.3d 632, 636      (5th Cir. 2006).    However, the court is not limited

to a consideration of the allegations of the complaint in

deciding whether subject matter jurisdiction exists.              Williamson

v. Tucker, 645 F.2d 404, 413 (5th Cir. 1981).             The court may

consider conflicting evidence and decide for itself the factual

issues that determine jurisdiction.          Id.




                                       5
  Case 4:18-cv-00492-A Document 15 Filed 10/09/18   Page 6 of 12 PageID 508


     Because of the limited nature of federal court jurisdiction,

there is a presumption against its existence.          See Owen Equip. &

Erection Co. v. Kroger, 437 U.S. 365, 374 (1978); McNutt v.

General Motors Acceptance Corp., 298 U.S. 178, 189 (1936).            A

party who seeks to invoke federal court jurisdiction has the

burden to demonstrate that subject matter jurisdiction exists.

McNutt, 298 U.S. at 178; Wilson v. Republic Iron & Steel Co., 257

U.S. 92,    97   (1921).

     Inasmuch as plaintiff is seeking mandamus relief to compel

an officer or employee of the United States or an agency thereof

to perform an alleged duty owed to plaintiff, as contemplated by

28 U.S.C.    §   1361, directly bearing on the subject matter

jurisdiction issue is the question of whether mandamus

jurisdiction exists, which is discussed in some detail under the

heading "Analysis" below.       Infra at 8-12.

     B.      Failure to State a Claim

     Rule 8 (a) (2) of the Federal Rules of Civil Procedure

provides, in a general way, the applicable standard of pleading.

It requires that a complaint contain "a short and plain statement

of the claim showing that the pleader is entitled to relief,"

Fed. R. Civ. P. 8(a) (2), "in order to give the defendant fair

notice of what the claim is and the grounds upon which it rests,"

Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007)          (internal

                                     6
  Case 4:18-cv-00492-A Document 15 Filed 10/09/18    Page 7 of 12 PageID 509


quotation marks and ellipsis omitted).        Although a complaint need

not contain detailed factual allegations, the "showing"

contemplated by Rule 8 requires the plaintiff to do more than

simply allege legal conclusions or recite the elements of a cause

of action.       Twombly, 550 U.S. at 555 & n.3.      Thus, while a court

must accept all of the factual allegations in the complaint as

true,    it need not credit bare legal conclusions that are

unsupported by any factual underpinnings.           See Ashcroft v. Igbal,

556 U.S. 662, 679 (2009)        ("While legal conclusions can provide

the framework of a complaint, they must be supported by factual

allegations.") .

        The facts pleaded must allow the court to inf er that the

plaintiff's right to relief is plausible.           Igbal, 556 U.S. at

678.     To allege a plausible right to relief, the facts pleaded

must suggest liability; allegations that are merely consistent

with unlawful conduct are insufficient.        Twombly, 550 U.S. at

566-69.       "Determining whether a complaint states a plausible

claim for relief . .          [is] a context-specific task that requires

the reviewing court to draw on its judicial experience and common

sense.   11
              Igbal,   556 U.S. at 679.




                                          7
     Case 4:18-cv-00492-A Document 15 Filed 10/09/18    Page 8 of 12 PageID 510


                                      IV.

                                    Analysis

A.      Lack of Mandamus Jurisdiction

        "Mandamus is an extraordinary remedy, available only when

government officials clearly have failed to perform

nondiscretionary duties." Dunn-Mccampbell Royalty Interest, Inc.

v. Nat'l Park Serv., 112 F.3d 1283, 1288 (5th Cir. 1997); see

also In re Corrugated Container Antitrust Litig., 614 F.2d 958,

961-62       (5th Cir. 1980) (It is a "black-letter proposition that

mandamus is an extraordinary remedy for extraordinary

causes.") (citation omitted) . The writ compels "an officer or

employee of the United States or its agencies to perform a duty

owed to the plaintiff." 28 U.S.C.           §   1361. For mandamus

jurisdiction to exist, a plaintiff must show (1) a clear right to

the relief sought,       (2) a clear duty by the defendant to do the

particular act, and (3) that no other adequate remedy is

available. United States v. O'Neal, 767 F.2d 1111, 1112               (5th Cir.

1985).

        1.     Lack of Clear Duty

       Defendants' first argument against the presence of mandamus

jurisdiction in this case is that element two of the three-part

O'Neal test for mandamus jurisdiction is lacking--that there is

no clear duty by FAA to do the particular act that plaintiff

                                       8
  Case 4:18-cv-00492-A Document 15 Filed 10/09/18   Page 9 of 12 PageID 511


seeks to have done through its Mandamus Complaint. The court

agrees. Plaintiff has not carried its burden of identifying a

clear duty by FAA to issue the press release requested.

       For a plaintiff to have standing under 28 U.S.C.        §   1361, he

must "establish that a duty is owed to him. Any duty owed to the

plaintiff must arise from [a] statute .             or from the United

States Constitution." Giddings v. Chandler, 979 F.2d 1104, 1108

(5th Cir. 1992); see also Dunn-Mccampbell, 112 F.3d at 1288.

Plaintiff does not identify such a duty in its Mandamus

Complaint. The duty it seeks to have the court enforce arises

from FAA Order 2150.3B, which is regulatory guidance for FAA, and

requires FAA "to provide the public with accurate reliable

information about its enforcement actions." Doc. 10 at 8, '            22;

Doc. 11 at App. 138.

       The only support plaintiff offers for the notion that the

court should disregard binding Fifth Circuit precedent and

consider regulatory guidance as a source of a clear duty in a

mandamus action is LeGrande v. United States, 774 F. Supp. 2d

910,   917   (N.D. Ill. 2011). First, the case is non-binding

precedent on this court and cannot displace binding Fifth Circuit

precedent. Second, LeGrande was not a mandamus case; it is a

negligence case, where a wider range of duties are available

beyond those set out by statute of the United States or the

                                    9
 Case 4:18-cv-00492-A Document 15 Filed 10/09/18   Page 10 of 12 PageID 512


United States Constitution.      Third, the duty identified based on

section 9 of FAA Order 2150.3B is not a duty owed by FAA to

plaintiff but appears to be a duty owed by FAA to the general

public.     Put another way, plaintiff does not appear to be within

the "zone of interest" sought to be protected by the FAA Order.

Giddings, 979 F.2d at 1109.      Plaintiff does not provide any

argument that would support a conclusion that such a duty

satisfies the duty requirements for issuance of a writ of

mandamus.    This, of course, is in addition to the fact that

reliance on FAA Order 2150.3B, section 9, does not satisfy the

rule of the Fifth Circuit that the duty that would support

issuance of a writ of mandamus must be one created by a statute

or constitutional provision.

     2.     Clear Right

     The court also agrees with FAA that plaintiff cannot

establish a clear right to a writ of mandamus.         "[M]andamus is not

available to review discretionary acts of agency officials."

Randall D. Wolcott, M.D., P.A. v. Sebelius, 635 F.3d 757, 768

(5th Cir. 2011); Newsome v. EEOC, 301 F.3d 227, 231 (5th Cir.

2002); Green v Heckler, 742 F.2d 237, 241 (5th Cir. 1984);

Giddings, 979 F.2d at 1108 (citations omitted). "Mandamus is an

appropriate remedy only when the plaintiff's claim is clear and

certain and the duty of the officer is ministerial and so plainly

                                   10
 Case 4:18-cv-00492-A Document 15 Filed 10/09/18    Page 11 of 12 PageID 513


prescribed as to be free from doubt." Giddings, 979 F.2d at 1108

(internal quotation marks and citations omitted). The issuance of

the press release requested by plaintiff is not such a

ministerial and plainly prescribed act.

     Plaintiff argues that the issuance of a press release is not

a discretionary act because defendants would simply need to omit

the three statements it alleges to be false and misleading in its

Mandamus Complaint.    But that argument does not make logical

sense. Were FAA to omit these three sentences for a revised press

release,   it would need to replace them with new sentences that

would still allow the press release to flow properly and make

sense. And such an act would necessarily involve the discretion

of the drafter of the new press release.           Such relief is not

available in a mandamus action.

           3.   No Showing That No Other Adequate Remedy is
                Available

     The allegation of the complaint that plaintiff now has

pending an appeal from the National Transportation Safety Board's

decision overruling the Administrative Law Judge's decision in

favor of plaintiff is an indication that plaintiff does have

available an adequate remedy.      There may be other available

remedies, but the court need not dwell on that subject because




                                   11
  Case 4:18-cv-00492-A Document 15 Filed 10/09/18   Page 12 of 12 PageID 514


the reasons previously discussed so clearly establish that the

court does not have mandamus jurisdiction.

B. Failure to State A Claim

     Because the court has found that it does not have

jurisdiction to issue a writ of mandamus in this action, and is

dismissing the action on this basis, it need not reach

defendants' arguments regarding plaintiff's failure to state a

claim.

                                    v.
                                  Order

     For the foregoing reasons,

     The court ORDERS that defendants' motion to dismiss be, and

is hereby, granted, and all claims and causes of action asserted

by plaintiff against FAA in the above-captioned action be, and

are hereby, dismissed.

     SIGNED October 9, 2018.




                                    12
